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                     UNITED STATED DISTRICT COURT FOR THE
                            DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                 *
                                         *
              v.                         * Crim. No: CCB – 17 - 0380
                                         * JUDGE: Hon. Catherine C. Blake
                                         *
SHANNON STAFFORD                         *
              Defendant                  *
******************************************
  DEFENDANT’S MOTION FOR JUDGMENT OF ACQUITTAL AND/OR NEW TRIAL WITH
           INCORPORATED MEMORANDUM OF POINTS AND AUTHORITIES

COMES NOW, the Defendant, Mr. Shannon Stafford, through John O Iweanoge,

II, and THE IWEANOGES’ FIRM, P.C. and Russell Hairston, Esquire his attorneys, and

pursuant to Federal Rules of Criminal Procedure Rules 29(c) and 33 respectfully

requests this Honorable Court to enter judgment of acquittal for the Defendant

and/or new trial with respect to the two counts the jury returned a guilty verdict.

                                      FACTS

Mr. Stafford is charged in a two-count indictment, specifically: one count

of Intentional Damage to a Protected Computer (Count One), in violation of

18 U.S.C. § 1030(a)(5)(a) and (c)(4)(B) and one count of Attempted

Intentional Damage to a Protected Computer (Count Two), in violation of 18

U.S.C. § 1030(a)(5)(a) and (c)(4)(B). The government alleges that in Count

One that the offense conduct happened on August 8, 2015. In count two

the government alleges that the offense occurred "between and including"

August 8, 2015, and September 14, 2015.

The government's allegations against Mr. Stafford are that Mr. Stafford was
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employed by Business A in its IT department from January 5, 2004 through

August 6, 2015 and was terminated on August 6, 2015, and his login

credentials for Business A's network was revoked the same day. As part of his

job responsibilities, Mr. Stafford had access to the network credentials of other

employees of Business A. On dates prior to Mr. Stafford's dismissal, Business A’s

network was accessed via virtual private network (VPN), using Mr. Stafford's

network credentials from an IP address connected to Mr. Stafford's residence.

After Mr. Stafford was terminated, over 40 attempts to log into the VPN

were made from the IP address purportedly linked to Mr. Stafford's home.

On August 6 and 8, 2015, Business A's network was accessed by a set of

network credentials assigned to "V.B." During the August 8, 2015, network

access, the person who logged in with V.B's credentials used remote

access software to connect to a computer which could access a Storage

Area Network (SAN) console. The SAN volume was then deleted, which

caused a critical disruption to Business A's operations until the data could

be restored from backups.

The evidence presented by the Government and the testimony of the

Government witnesses did not identify Mr. Stafford as the individual that

accessed Business A’s network. The evidence was that the government

did not check Defendant’s laptop in its possession to determine if the

Defendant’s laptop was hacked and used as a conduit to access Business


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A’s network to delete the SAN.


                               ARGUMENT
THE EVIDENCE WAS INSUFFICIENT TO CONVICT DEFENDANT, ON COUNTS ONE AND
                         TWO OF THE INDICTMENT

A trial judge confronted with a Rule 29 motion considers all of the evidence in light

most favorable to the government and, in appraising its sufficiency, it is not

necessary that trial court be convinced beyond reasonable doubt of guilt of

defendant; question is whether there is substantial evidence upon which jury

might justifiably find defendant guilty beyond reasonable doubt. White v United

States, 279 F2d 740, (4th Cir. 1960)cert denied 364 US 850, 5 L Ed 2d 74, 81 S Ct 96

(1960). Test for sufficiency of evidence under Rule 29 is whether upon evidence,

giving full play to right of jury to determine credibility, weigh evidence, and draw

justifiable inferences of fact, reasonable mind might fairly conclude guilt beyond

reasonable doubt, coupled with requirement that the reviewing court view

evidence in light most favorable to government. United States v. Carson, 455 F.3d

336, 368-69 (D.C. Cir. 2006). If the District Court concludes that either of two results,

reasonable doubt or no reasonable doubt, is fairly possible, it must let the jury

decide the matter. United States v Stirling, 571 F2d 708, (2nd Cir. 1978), cert

denied 439 US 824, 58 L Ed 2d 116, 99 S Ct 93 (1978).

Additionally, pursuant to Fed. R. Crim. P. Rule 33, a trial court may grant a new trial

to defendant if required in the interest of justice. Motions for a new trial may be

based either on the ground that the verdict was against the weight of the

evidence or that some error occurred at trial which substantially affected the

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rights of the accused. United States v. Simms, 508 F. Supp. 1188, 1202 (W.D. La.

1980). The decision to grant or deny a new trial based on allegations that the

verdict was against the weight of the evidence is within the sound discretion of

the trial court. United States v. Martinez, 763 F.2d 1297, 1312 (11th Cir. 1985). Also,

the court is allowed to weigh the evidence and consider the credibility of

witnesses in assessing a defendant’s motion for a new trial based on the weight

of the evidence. United States v. Kuznair, 881 F.2d 466, 470-471 (7th Cir. 1989).

Where a new trial motion is premised on allegations of error committed during the

course of trial, the convicted defendant has the burden of showing that error was

in fact committed and also that the error was prejudicial to him. Simms, 508 F.

Supp. at 1203.

18 United States Code, § 1030(a)(5)(A) provides that "[Whoever] knowingly

causes the transmission of a program, information, code, or command, and as

a result of such conduct, intentionally causes damage without authorization,

to a protected computer shall be guilty of a crime”. In order to prove that the

Defendant violated the statute, the must present evidence demonstrating

that the following beyond a reasonable doubt that: (1) that the defendant

knowingly caused the unauthorized transmission of a program, information,

code or command to a protected computer; (2) that the defendant caused

the transmission of the program, information, code or command with the intent

to damage or deny services to a computer or computer system; (3) that the


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defendant thereby caused damage; and (4) that the defendant's actions

resulted in losses to the victim company of at least $5000.

      The government did not prove the first element because the evidence did

not demonstrate that Mr. Stafford caused the transmission of a program or

command to a protected computer. The only evidence presented by the

government was that transmission of the program and/or command used

Defendant home IP address. However, the Government’s expert witness testified

that it was possible for another person to hack into Defendant’s computer and

home network to transmit a command or program to Business A’s network. The

expert similarly testified that they did not check Defendant’s laptop for intrusion

and/or whether a third party gained access to his computer and caused the

transmission. Defendant contends that the evidence is insufficient to show that he

was the person that committed the offense in a household with at least four other

users of the IP address.

      Since the government was unsuccessful in identifying the perpetrator, it also

fails in presenting evidence to satisfy the second and third elements of the

offense. The government also failed to prove the fourth element of the offense

because value was not provided with reliable evidence. The Court admitted the

evidence of the value of the damage over Defendants objection to the hearsay

evidence. The government did not present that the damage to Business A was

caused by the transmission was at least $5,000.00.



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      There was insufficient evidence presented to demonstrate that Defendant

was the perpetrator of the unauthorized transmission to a protected computer.

      The evidence was also insufficient as to count two because there was no

evidence that the unsuccessful intrusions were done by Mr. Stafford and on the

preceding argument.

                                 CONCLUSION

      WHEREFORE, the defendant through counsel requests this Honorable

Court based on the foregoing to enter judgment of acquittal and/or a new trial.

                                    Respectfully submitted,
                                    THE IWEANOGES’ FIRM P.C.

Date: 29th day of November 2019
                                    By:_/s/JohnOIweanoge/s/_____________
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                                    _____/s/___________________________
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                      CERTIFICATE OF FILING AND SERVICE

I CERTIFY that that a true and correct copy of the foregoing was electronically

filed this 29th day of November 2019 and all parties would be served by the

Court’s e-serve system.


                                                /s/JohnOIweanogeII/s/_
                                                 John O. Iweanoge, II




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                                         *
SHANNON STAFFORD                         *
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******************************************

                                        ORDER

      UPON CONSIDERATION of the Defendant’s Motion for Judgment of

Acquittal and/or for New trial and the government’s opposition filed thereto, it is

this ____day of __________________2019, by the U.S. District Court for the District of

Maryland,

  ORDERED that for good cause shown, Defendant’s motion is GRANTED, and it

is,

  FURTHER ORDERED__________________________________________________

  SO ORDERED

Dated: ___day of ___________2019                     ____________________________
                                                     Hon. Catherine C. Blake
                                                           U.S. District Judge




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